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                       UNITED STATES DISTRICT COURT
                                           District of Minnesota



Brock Fredin                                           JUDGMENT IN A CIVIL CASE
                                     Plaintiff(s),
v.                                                           Case Number: 18cv2911 SRN/HB
Lyndsey M Olson, Attorneys of the Saint Paul
City Attorney's Office, The

                                     Defendant(s).




☐ Jury Verdict. This action came before the Court for a trial by jury. The issues have been
  tried and the jury has rendered its verdict.

☒ Decision by Court. This action came to trial or hearing before the Court. The issues have
  been tried or heard and a decision has been rendered.

     IT IS ORDERED AND ADJUDGED THAT:
     1. Plaintiff’s Objections to the Magistrate Judge’s October 29, 2018 Report and
     Recommendation [Doc. No. 8] are OVERRULED;

     2. The Court ADOPTS the Report and Recommendation [Doc. No. 8];

      3. Plaintiff’s application to proceed in forma pauperis [Doc. No. 2] is DENIED because
     Plaintiff has filed a complaint that fails to state a cause of action on which relief may be
     granted;

     4. This action is DISMISSED without prejudice; and

     5. Any request for a preliminary injunction or for a Younger bad faith hearing contained in
     Fredin’s Memorandum [Doc. No. 2] is DENIED as moot.


     Date: 3/8/2019                                             KATE M. FOGARTY, CLERK

                                                                       s/M. Giorgini
                                                           (By) M. Giorgini, Deputy Clerk
